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 6
     Attorneys for Plaintiff,
 7   ELIZABETH K. FERREIRA
 8
                          UNITED STATES DISTRICT COURT
 9                             DISTRICT OF NEVADA
10
     ELIZABETH K. FERREIRA,
11                                               Case No.: 2:17-cv-02361-JAD-NJK
                     Plaintiff,
12                                               NOTICE OF SETTLEMENT
13
           vs.                                   BETWEEN ELIZABETH K.
                                                 FERREIRA AND NUVISION
14   AURORA BANK, FSB; ENERGY                    FEDERAL CREDIT UNION
     FIRST CREDIT UNION; NUVISION                                                          N
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     FEDERAL CREDIT UNION;                                                                 O
16   EQUIFAX INFORMATION                                                                   T
     SERVICES, LLC,                                                                        I
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18                     Defendant(s).

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           NOTICE IS HERBY GIVEN that the dispute between ELIZABETH K.
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21
     FERREIRA (“Plaintiff”) and Defendant NUVISION FEDERAL CREDIT UNION

22   (“NUVISION”) has been resolved on an individual basis. The parties anticipate
23
     filing a Stipulation for Dismissal of the Action as to the named Plaintiff’s claims
24
     against NUVISION, with Prejudice, within 60 days. Plaintiff requests that all
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     pending dates and filing requirements as to NUVISION be vacated and that the
 1

 2   Court set a deadline sixty (60) from present for filing a Dismissal as to
 3
     NUVISION.
 4
           Dated: October 31, 2017
 5

 6
                                                    /s/ David H. Krieger, Esq.
                                                    David H. Krieger, Esq.
 7
                                                    Attorneys for Plaintiff
 8
                                                    ELIZABETH K. FERREIRA
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